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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 HUMANA INC., ET AL.,                         §
                                              §
      Plaintiffs,                             §
                                              §
 v.                                           §    Civil Action No. 4:24-CV-01004-O
                                              §
 U.S. DEPARTMENT OF HEALTH                    §
 AND HUMAN SERVICES, ET AL.,                  §
                                              §
      Defendants.                             §

                                           ORDER

         Before the Court are Plaintiffs’ Motion for Summary Judgment and Brief in Support

(ECF Nos. 34–35); Defendants’ Response (ECF No. 36); and Plaintiffs’ Reply (ECF No. 41).

Additionally, before the Court are Defendants’ Motion to Dismiss and Motion Summary Judgment

and Brief in Support (ECF Nos. 37–38); Plaintiffs’ Response and Brief in Support (ECF Nos. 40–

41); and Defendants’ Reply (ECF No. 42). The Motions are ripe for the Court’s review. After

considering the briefing and relevant case law, the Court determines that Defendants’ Motion to

Dismiss should be GRANTED. The Court does not reach the parties’ Motions for Summary

Judgment.

I.       BACKGROUND

         This suit arises out of the Medicare Act. Title XVIII of the Social Security Act,

42 U.S.C. § 1395 et seq. (the “Medicare Act”), establishes the Medicare program, a federally

funded and administered health insurance program for eligible elderly and disabled persons and

certain individuals with end-stage renal disease. See 42 U.S.C. § 1395c. Plaintiffs Humana Inc.

and Americans for Beneficiary Choice initiated this lawsuit in October 2024 challenging “the

federal government’s arbitrary and capricious actions in administering the Medicare Advantage

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 and Part D Star Ratings program.”1 Namely, Plaintiffs challenge “three phone calls that were

 handled by CMS in a manner inconsistent with the agency’s own regulations.”2 Less than a week

 after filing an Amended Complaint in this matter, Humana sought administrative reconsideration

 of its 2026 Quality Bonus Payment determination for twenty-nine contracts.3

        Plaintiffs sued Defendants United States Department for Health and Human Services,

 Center for Medicare and Medicaid Services, Robert F. Kennedy in his official capacity as Secretary

 of Health and Human Services, and Mehmet Oz in his official capacity as Administrator of the

 Centers for Medicare and Medicaid Services.4 Defendants moved to dismiss Plaintiffs’ Amended

 Complaint under Federal Rule of Civil Procedure 12(b)(1).5 Additionally, both parties filed

 Motions for Summary Judgment.6 The Motions are ripe for the Court’s review.

 II.    LEGAL STANDARD

        Motions filed under Federal Rule of Civil Procedure 12(b)(1) allow a party to challenge

 the subject matter jurisdiction of the district court to hear a case. FED R. CIV. P. 12(b)(1). Because

 a Rule 12(b)(1) motion concerns a court’s power to hear a case, when a Rule 12(b)(1) motion is

 brought with other Rule 12 motions to dismiss, the Rule 12(b)(1) motion must be addressed first.

 See Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001).

III.     ANALYSIS

        Before analyzing the merits of the parties’ Motions, that is, the Motions for Summary

 Judgment, the Court must address Defendants’ Motion to Dismiss. See id. Defendants assert that


 1
   Pls.’ Am. Compl. 1, ECF No. 21.
 2
   Id. at 3.
 3
   Defs.’ App. Supp. Mot. Dismiss and Summ. J. Ex. A. (Humana’s Recons. Req.) App. 1–5, ECF No. 39.
 4
   Pursuant to Federal Rule of Civil Procedure 25(d), Robert F. Kennedy, Jr. and Mehmet Oz were
 substituted for their predecessors as Secretary of the United States Department of Health and Human
 Services and Administrator of the Centers for Medicare and Medicaid Services, respectively.
 5
   See Defs.’ Br. Supp. Mot. Dismiss and Summ. J., ECF No. 38.
 6
   Pls.’ Mot. Summ. J., ECF No. 34; Defs.’ Mot. Summ. J., ECF No. 37.
                                                   2
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the Court does not have subject-matter jurisdiction because Plaintiffs failed to exhaust their

administrative remedies before filing suit.7 Defendants are correct. Instead of waiting for the

administrative appeal process to finish, Plaintiffs appealed CMS’s decision and sought relief in

Federal Court.8 For the following reasons, Plaintiffs’ federal suit was premature and dismissal

without prejudice is warranted.

          Congress divested subject-matter jurisdiction from federal courts “on any claim arising

under” the Medicare statute, except as provided in 42 U.S.C. § 405(g). 42 U.S.C. § 405(h);

id. § 1395ii (incorporating 42 U.S.C. § 405(h) into the Medicare statute). Instead, section 405(g)

is the “sole avenue for judicial review for all ‘claim[s] arising under’” the Medicare statute.

Heckler v. Ringer, 466 U.S. 602, 614–15 (1984). Section 405(g) “contains two separate elements:

first, a ‘jurisdictional’ requirement that claims be presented to the agency, and second, a

‘waivable . . . requirement that the administrative remedies prescribed by the Secretary be

exhausted.’” Smith v. Berryhill, 587 U.S. 471, 478 (2019) (alteration in original) (quoting Mathews

v. Eldridge, 424 U.S. 319, 328 (1976)).

          In Shalala v. Illinois Council on Long Term Care, Inc., the Supreme Court explained that

42 U.S.C. § 405(h) channels “most, if not all, Medicare claims through this special review system.”

529 U.S. 1, 8 (2000). The Supreme Court said this included “virtually all legal attacks” on

Medicare related regulatory obligations. Id. at 13. So much so that the Supreme Court clarified

that these provisions require channeling regardless of “the ‘potential future’ versus the ‘actual

present’ nature of the claim, the ‘general legal’ versus the ‘fact-specific’ nature of the challenge,

the ‘collateral’ versus ‘noncollateral’ nature of the issues, or the ‘declaratory’ versus ‘injunctive’

nature of the relief sought.” Id. at 13–14.


7
    Defs.’ Br. Supp. Mot. Dismiss and Summ. J. 18–21, ECF No. 38.
8
    Defs.’ App. Supp. Mot. Dismiss and Summ. J. Ex. A. (Humana’s Recons. Req.) App. 1–3, ECF No. 39.
                                                   3
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       Further, the Fifth Circuit has stated that “the third sentence of § 405(h) is . . . sweeping and

direct and . . . states that no action shall be brought under § 1331, not merely that only those

actions shall be brought in which administrative remedies have been exhausted.” Physician Hosps.

of Am. v. Sebelius, 691 F.3d 649, 654 (5th Cir. 2012) (quoting Weinberger v. Salfi, 422 U.S. 749,

757 (1975)). The Fifth Circuit in Physician Hospitals framed the question as “whether the

plaintiffs’ claims here arise under the Medicare Act.” Id. at 655.

       Plaintiffs argue that this case arises out of the APA, not the Medicare Act. That is mistaken.

“A claim arises under the Medicare Act if ‘both the standing and the substantive basis for the

presentation’ of the claim is the Medicare Act.” RenCare, Ltd. v. Humana Health Plan of Tex.,

Inc., 395 F.3d 555, 557 (5th Cir. 2004) (quoting Heckler, 466 U.S. at 615). Plaintiffs’ claims meets

both requirements because this action is about whether Plaintiff, Humana, is entitled to financial

incentives that it claims to be entitled to under the Medicare statute. Thus, this case is subject to

the channeling requirements.

       Despite the channeling requirements, Plaintiffs sought both administrative reconsideration

of its 2026 Quality Bonus Payment determination and challenged the agencies’ decisions in this

action. Thus, the Illinois Council exception cannot apply because it is limited to “cases in which

there is no other path for judicial review.” Physician Hosps. of Am., 691 F.3d at 656. Plaintiffs can

seek review, just not until the end of the administrative appeal process. When filed, this action was

premature. See Indeplus Grp. of Cos., Inc. v. Sebelius, No. 3:10-CV-0557-O, 2010 WL 1372488,

at *3 (N.D. Tex. Apr. 7, 2010) (“[S]ince the Plaintiffs have yet to proceed through the

administrative appeals process provided by the Medicare Act their complaint in this Court is

premature and the Court is without subject-matter jurisdiction to hear it.”).




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        Plaintiffs argue that section 405(g) does not apply because 42 U.S.C. § 1395ii does not

incorporate section 405(g). But this approach is inconsistent with precedent. The Court is not

required to search the Medicare Act to see if section 405(g) applies. As mentioned above, the

analysis turns on “whether the plaintiffs’ claims here arise under the Medicare Act.” Physician

Hosps. of Am., 691 F.3d at 655. Plaintiffs’ claims clearly do.

        Plaintiffs’ other arguments are equally unpersuasive. Plaintiffs’ argument that

42 C.F.R. § 422.260 is purely optional does not mean that they can proceed in both forums at once.

The Court agrees with Defendants that “Illinois Council and its progeny do not require that the

relevant regulations describe the appeal process as mandatory.”9 Plaintiffs admittingly did not

exhaust the appeal process and thus the Court cannot proceed to the merits of this action.10

        Accordingly, the Court lacks jurisdiction to hear Plaintiffs’ case. At the time of filing this

lawsuit, Plaintiffs did not exhaust the administrative appeals process. Since filing the lawsuit the

administrative appeal has concluded, but “[i]t has long been the case that ‘the jurisdiction of the

court depends upon the state of things at the time of the action brought.’” Double Eagle Energy

Servs., L.L.C. v. MarkWest Utica EMG, L.L.C., 936 F.3d 260, 263 (5th Cir. 2019) (quoting Grupo

Dataflux v. Atlas Global Grp., 541 U.S. 567, 570 (2004)).




9
 Defs.’ Reply 8, ECF No. 42.
10
  Plaintiffs’ suggestion of mootness is clear that at the time of filing, administrative remedies were not
exhausted. See Pls.’ Notice Suppl. Authority and Suggestion of Mootness of Defs.’ Mot. Dismiss, ECF
No. 46 (arguing Defendants’ motion to dismiss will be moot once Plaintiffs finish the agency appeal
process).
                                                      5
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IV.     CONCLUSION

       For the reasons stated above, the Court GRANTS Defendants’ Motion to Dismiss

 (ECF No. 37). This case is DISMISSED without prejudice. All other pending motions are

 DENIED as moot. Final judgment shall follow separately.

       SO ORDERED on this 18th day of July, 2025.



                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE




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